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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Vv. Case No. 1:21-cr-667-RCL

MAHAILYA PRYER,

Defendant.

ORDER
Upon consideration of the Government’s Motion for Extension of Time to File its response
to Mahailya Pryer’s Motion to Terminate Probation as an Illegal Sentence, ECF No. 77, and for
good cause shown, it is hereby
ORDERED that the Government’s motion is GRANTED; and it is further
ORDERED that the Government shall have through and including December 1, 2023 to
file its response.

IT IS SO ORDERED.

Date: Wer, [er {Soees Lina

Royce C. Lamberth
United States District Judge

